      Case 15-24733-JNP          Doc 87-4 Filed 08/12/19 Entered 08/12/19 16:25:03                       Desc Ntc
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Form 137 − aplccmpn

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
401 Market Street
Camden, NJ 08102

                                         Case No.: 15−24733−JNP
                                         Chapter: 7
                                         Judge: Jerrold N. Poslusny Jr.

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Daniel G. Rallo                                          Carmen Rallo
   58 Lacosta Dr                                            58 Lacosta Dr
   Egg Harbor Township, NJ 08234−5839                       Egg Harbor Township, NJ 08234−5839
Social Security No.:
   xxx−xx−0363                                              xxx−xx−6701
Employer's Tax I.D. No.:


                      NOTICE OF HEARING ON APPLICATION FOR COMPENSATION


      NOTICE IS HEREBY GIVEN that there will be a hearing held before the honorable Jerrold N. Poslusny Jr.
on:

Date:     9/19/19
Time:      02:00 PM
Location:  4th Floor Courtroom 4C, Mitchell H. Cohen Courthouse, 1 John F. Gerry Plaza, 400 Cooper Street,
Camden, NJ 08101−2067

for the purpose of acting on applications for compensation. Attendance by debtor(s) or creditors is welcome, but not
required.

      The following applications for compensation have been filed:

APPLICANT(S)
Flaster Greenberg, P.C., Trustee's Attorney, period: 10/29/2017 to 8/12/2019

COMMISSION OR FEES
fee: $1,188.00

EXPENSES
$102.65

If this is a chapter 13 case, the fees and expenses awarded:

                will not reduce the amount to be paid to general unsecured
                creditors under the plan.

                will reduce the amount to be paid to general unsecured
                creditors under the plan as follows:

Debtor(s) or other parties who wish to object must file an objection not later than 7 days prior to the hearing date.
Objections must be filed with the Court and served on the applicant and other interested parties.

      An appearance is not required on an application for compensation unless an objection is filed.
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Dated: August 19, 2019
JAN:

                                                    Jeanne Naughton
                                                    Clerk
